USDC IN/ND case 4:18-cv-00056-TLS-APR document 140 filed 03/01/21 page 1 of 2


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  LAFAYETTE DIVISION

VASSIL M. MARINOV,                             )
                                               )
               Plaintiff,                      )
                                               )
       v.                                      )      Case No. 4:18-cv-56
                                               )               4:18-cv-59
FIAT CHRYSLER                                  )               4:18-cv-75
AUTOMOTIVE, et al,                             )
                                               )
               Defendants.                     )

                                          ORDER


       The pattern of discovery abuse by the plaintiff, Vassil M. Marinov, continues, so the

imposition of sanctions will escalate until the plaintiff understands that his conduct will not be

tolerated.

       On February 18, 2021, this court imposed sanctions against the plaintiff after repeated

warnings. His response to those sanctions came on February 23, 2021 and was more of the same

– objections to the sanctions and an attempt to reargue old discovery motions. That motion

resulted in additional sanctions being imposed on February 24, 2021. Predictably, the plaintiff

challenged those sanctions in a motion filed February 26, 2021, which can be found at docket

entry 139 in case number 4:18-cv-56, at docket entry 165 in case number 4:18-cv-59, and at

docket entry 84 in case number 4:18-cv-75. That motion is more of the same rejected arguments

about false statements by the defendants, not understanding the court system, and a language

barrier. The February 24, 2021 order imposed sanctions of $500.00. An additional imposition of

sanctions must exceed that amount.
USDC IN/ND case 4:18-cv-00056-TLS-APR document 140 filed 03/01/21 page 2 of 2


        Sanctions for the Motion, found at docket entry 139 in case number 4:18-cv-56, at docket

entry 165 in case number 4:18-cv-59, and at docket entry 84 in case number 4:18-cv-75, filed on

February 26, 2021 are imposed in the amount of $1,000.00. The sanctions shall be paid to the

Clerk by March 17, 2021.

        The sanctions imposed by the February 18, 2021 order must be paid by March 4, 2021.

Additionally, the sanctions imposed by the February 24, 2021 order must be paid by March 10,

2021. The plaintiff is WARNED that the failure to pay the sanctions may result in the dismissal

of his cases.

        The court DIRECTS the Clerk to mail a copy of this order to the plaintiff at 2315 Archer

Court West Lafayette, Indiana 47906 by first class U.S. Mail and certified mail, return receipt

requested.

        ENTERED this 1st day of March, 2021.

                                                            /s/ Andrew P. Rodovich
                                                            United States Magistrate Judge




                                                2
